                                                     THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    DOUGLAS MONROE, a single individual,               CASE NO. C17-1763-JCC
10                          Plaintiff,                   MINUTE ORDER
11           v.

12    THE BOEING COMPANY,

13                          Defendant.
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15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on parties’ stipulated motion to extend time to
18   respond to the complaint (Dkt. No. 10). Pursuant to this stipulation, the Court hereby GRANTS
19   the motion and ORDERS that the deadline for Boeing to file an answer, or to otherwise respond
20   to Plaintiff’s complaint, is extended to December 20, 2017.
21          DATED this 5th day of December 2017.
22                                                         William M. McCool
                                                           Clerk of Court
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24                                                         s/Tomas Hernandez
                                                           Deputy Clerk
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